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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

[A ae obi ee eee Original Plan
[ma] Fourth See tSae ________ Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
ES Boe ee ee ___ Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Manuel Alfonso Fernandez JOINT DEBTOR: 2 a ee CASE NO.: £8-22203-BRU-RBR
SS#: Xxx-xx- 8794 _ SS#.XXX-XX-
L NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may

be reduced, modified or eliminated.

To All Parties: |The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a FS “thetwaea fa] Not inclu dea |
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set Ea Thelieied fm] Not included
out in Section IT i a

Nonstandard provisions, set out in Section VIII [-] Included im| Not included

 

 

 

I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's fees
of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

1. (§1991-83-. fermonths <4: to. 5
2. $4,315.38 ss formonths 6 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [7 NONE £7? PRO BONO
Total. Pees) $3650.00 Total Paid: .-_—* $2000.00, Balance Due: = $1650.00
Payable __—‘$1,650.00 /month (Months 1! to |)

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500.00 + $150.09 (Costs) = $3,650.00

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Il. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: | | NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

 

 

 

 

 

I. Creditor: (oConmist 105, ULC (USUMmengal Seniors:
Address: BSI Financial Services Arrearage/ Payoff on Petition Date $111,445.35 @ 5.25% = $126,954.00
P.O. Box 679002
i 25% int 100.00 s | 1

Dallas, TX 75267 Payoff (Including 5.25% monthly interes $100.00 /month (Months _ 1 _ to 1 )
— Payoff (Including 0% monthly interest) $1,500.00 /month (Months 2 to 5_ )

Last 4 Digits of SES Rea 62, Wire
Account No.: SU eee Payoff (Including 0% monthly interest) $2,197.35 /month (Months 6 to 60 )
Other: See shinies i lec eak te aR a EE

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Debtor(s): Manuel Alfonso Fernandez

Address of Collateral:
3725 South Ocean Dr #423, Hollywood, FL 33019

|] Personal Property/Vehicle
Description of Collateral: 3725 South Ocean Dr #423, Hollywood, FL 33019_

2. Creditor: McCormick 105, LLC / BSI Financial Services

Address: BSI Financial Services Arrearage/ Payoff on Petition Date $3,067.00
P.O. Box 679002 :

Dallas, TX 75267 Arrears Payment (Cure) $20.00

Last 4 Digits of Arrears Payment (Cure) $30.00) 22

AccountNo.: 6738 Arrears Payment (Cure) SOS 220 o2 8

[_| Personal Property/Vehicle
Description of Collateral: 3725 South Ocean Dr #423, Hollywood, FL 33019

 

(m] Real Property Check one below for Real Property:
[m Principal Residence [_]Escrow is included in the regular payments
"Other Real Property [m|The debtor(s) will pay [iftaxes [mJinsurance directly

Other: _ Post Petition Per Notice of Post petition Mortgage Fees, Expenses and Charges (Claim #5) ($2,822 + $245 = $3,067) _

[_] Real Property Check one below for Real Property:

[Principal Residence [_JEscrow is included in the regular payments

[Other Real Property [|The debtor(s) will pay [_ltaxes [_linsurance directly
Address of Collateral:

Case number: 18-22203-BKC-R

|

oe

/month (Months 6 to 60 )

 

 

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Debtor(s): Manuel Alfonso Fernandez
B. VALUATION OF COLLATERAL: [i] NONE
LIEN AVOIDANCE ([il! NONE
D. SURRENDER OF COLLATERAL: Secured clai
distribution fom the Chapter 13 Trustee.
'_| NONE

____ Case number: 18-22203-BKC-R

Oo

ms filed by any creditor granted stay relief in this section shall not receive a

 

i@) The debtor(s) elect to surrender to each creditor listed below the c
request that upon confirmation of this plan the automatic stay be t
personam as to any codebtor(s) as to these creditors.

ollateral that secures the creditor’s claim. The debtor(s)
erminated in rem as to the debtor(s) and in rem and in

P Other:

Name of Creditor Last 4 Digits of Account N
Federal Home Loan Mortgage 0790
1, © c/o Select Portfolio
Servicing, Inc.
E. DIRECT PAYMENTS:
the Chapter 13 Trustee.

| NONE

0. Description of Collateral (Address, Vehicle, etc.)
1614 SW 73 Street, Miami Fl 33193

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution forr

|| The debtor(s) elect to make payments directly to each secured creditor li

confirmation of this plan the automatic stay be terminated in rem as to t
codebtor(s) as to these

sted below. The debtor(s) request that upon

he debtor(s) and in rem and in personam as to any
creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Sea Air Towers 423 3725 South Ocean Dr #423, Hollywood, FL 33019

 

3725 South Ocean Dr #423, Hollywood, FL 33019
soli: Ran aan eet DOS Property Taxes:
Iv. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in

2. Taxes and Treasury __

11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ‘if NONE

B. INTERNAL REVENUE SERVICE: [m@) NONE

Total Due: $90,000.00,

Payable $40.75. /month(Months_1 to 1_)

Payable $280.75, month (Months 2 to 5 )

Payable ‘$1,615.21 /month (Months 6 to 60 )

Regular Payment (if applicable) ‘$0.00, /month (Months 1 to 60 )

 

 

D. OTHER: {g) NONE

Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $0.00 /month (Months EES toms)
Pay __ $57.29 /month (Months 6 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

ti to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: {ill NONE

*Debtor(s) certify the separate classification(s) of the claim(s) |
creditors pursuant to 11 U.S.C. § 1322,

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/|
section shall not receive a distribution from the Chapter 13 Trustee.
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isted above will not prejudice other unsecured nonpriority

essor granted stay relief in this

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Debtor(s): Manuel Alfonso Fernandez Case number: 18-22203-BKC-R

  

: NONE

i@ Unless provided for under a separate section, the debtor
terminated in rem as to the debtor( s) and in rem and in
herein is intended to terminate or abrogate the debtor(s

(s) request that upon confirmation of this plan, the automatic stay be

personam as to any codebtor(s) as to these creditors/lessors. Nothing
)' state law contract rights.

Name of Creditor Collateral
; Americredit / GM

Acct. No. (Last 4 Digits) Assume/Reject
2018 Chevrolet Equinox 1874

VI.

 

 

VUI. NON-STANDARD PLAN PROVISIONS {i} NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury,

 

 

 

/s/ Manuel Alfonso Fernandez Debtor March 13, 2019 Joint Debtor aes
Manuel Alfonso Fernandez Date Date
/s/ Patrick L. Cordero, Esq. === March 13, 2019

Attomey with permission to sign on Date
Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s),

of the provisions in this Chapter 13 plan are identical to those co
nonstandard provisions other than |

if not represented by counsel, certifies that the wording and order

ntained in Local Form Chapter 13 Plan and the plan contains no
those set out in paragraph VIII.

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